Case 09-14814-gwz Doc1215-7 Entered 07/27/10 19:25:56 Page1of 23

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vogt)
os ene Rhodes Homes Arizona
) torraets ~=2215 Hualapai Mountain Road, Suite H
“ Kingman, Arizona 86401
Phone: (928) 718-2210
Fax: (928) 718-1322
Consultant Agreement
Date: 72212005
Ta: Stanley Consultants, Inc.»
Project: Golden Valley South - Major Off-Site Infrastructure»
Type of Work: Civil Engineering & Construction Staking»
Contract#: *

(- Attached you will find your Consultant Agreement for the project stated above.

Please sign and initial all pages of both contracts as Indicated and return both
contracts to cur office as soon as possible. A fully executed copy will be

returned to you.

= 5 We took forward to a prosperous business relationship with your company,

Sincerely,

Rhodes Homes Arizona

Enclosures

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Case 09-14814-qwz Doc - 1215-7 _ Entered 07/27/10 19: 25: 56 _Page 2 of 23

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Consultant Agreement

This Agreement made this 222» day of aJulya, «2005», by and behween __ Rhodes Homes
Arizona, hereinafter sometimes referred lo as "Client", and «Stanley Consuttants, Ings, Inc.»,
sometimes hereinafter referred to as “Consultant”, provides as follows:

Date: «7122/2005»

Projact: «Golden Valley South - Major Off-Sita Infrastructuro»
therelnafter sometimes refarred to as “The Project”)

Contract Price: = «$3,330,100.00»

RECITALS:

- A Client is the developer of The Project. Citent Is antering inte this Agreement with
Consultant to perform the professional services described within the Scopa of
/ Services, attached as Exhibit “A” to this Agrgement.

B. Consultant Is qualified to provide the professional services agreed to within this,
Agreement as requested by the Client. if Consultant is not qualified to perform tha
services Indicatad herein ‘for compieting the work, Consultant will Immediately .
notify Client of such in writing. Le

Cc. Consultant shall maintain the schedule as mutually agreed upon unless outside

. circumstances such as governmental reviews, natural disasters, or other unknown

or uncontrofiable influences occur. The client shail be notified immediately of any
changes to the schedule. ,

WITNESSETH:

IN CONSIDERATION of the thutual promises and covenants hereinafter set forth, the Cllent and :
the Consultant agras as fatiows:

1. Services: Consultant shail perform the professional services described in Exhibtt “A"
and elsewhere throughout this Agreement. Exhibit “A" is atlachéd hereto and
incorporated hereln by reference (the "Scope of Services”).

2° Non-Exelusivity: This Agreement shall not act as an exciusive contract limiting the
Client to use anly Consultant at the Project.

a Standards: A! services shall‘be performed by the Consultant in a manner consistent
with that level of care and still ordinarily exercised .by reputabla members of the
profession who are currently practicing in the same locality under simlar-conditions.

- 4. Government Regulations; Consultant shall comply with all known laws, statutes,
ordinances, standards, rules and regulations, pollcles, licensing requirements, insurance
requirements, practices, and procedures of federal, state, municipal, and speciaf district

: govemmental authorties which are applicable to the services covered under this
° Agreement. :
“5. Materlats: All necessary labor, licenses, and any other tems necessary fo compleis the po

services as outtined in Exhibit “A" (hereinafter collectively referred ta as the “Materlals"), . FE
_ Must be furnished by the Consulfant and shall be a part of the contract price uniess It Is
specifically excluded in Exhibit “A”.

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Case 09-14814-qwz

Doc 1 1215- v Entered O7/27/10 - 19: 2s: 56 _ Page 3 of 23 oe

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Reproduction of six (6) coples of documents needed for the production, design, and
submittal of plang and maps ate included in the contract price In addition, one copy of
each document, map, or plan will be provided to the Gllant during the prallrainary stages,
prior to the first submittal, afer each additional submittal, and immediately after approval
and recordation, Tha total cost of thesa copies fs included in fhe overall prica of this
contract, .

Any additional reproduction of plans and decuments requested by Client which ara not
included Jn the contract price shall be directed by Cllent to Client's raproduction company
of choice at Cllent’s expense. In tha event changes are requested by the Client, an
additional fee shall ba negotiated for those copies at the instance of tha Consultant at the
time of request .

Licensing Requirements: As a condition of this Agreement, Consultant shall maintain
jn effect at all dmes during the term of ihis Agreement a valid and appropriate license
and/or regisfration for the State of Arizona, or any other governmental or administrative
body as may be applicable. Copies of current applicable jicanses shail be subimitied to
Client upan request Furthermore, Consultant shall ensure that each of its employees
who are subject to licanslng and/or registration maintain a current and valid license
and/or registration while performing work on the project. Consultant will natice Client in
writing Immediately of any changes te Consultant's registration ficense status.

Key Personnel .

a. Award of thls contract was based upon a review of lhe personal qualifications
proposed by the Consultant. This includes, but is not limited to, Consultant's current
organizational chart, the described internal schedule of processing for the recordation
of map(s), and the current Principals of the company.

b. The Client will be notified jmmediately if there Is a change In Key Contact Personne!
Including the names and qualifications of these Individuals.

ec. Should the Individuals originally assigned to Client not be able to perform the work,
the Consultant shall send wriiten noilce of any propesed replacament or adéition,
including a: statement of qualifications, by Individual name. Such, proposed
replacement ar addition must be sent.to Client immediately,

d. Client reserves the right to Teject any proposed replacement or addition andor to
request additional qualifying documentation. '

e. Key personnel designated by Consultant may be subject to an Interview with Cifent to
substantiate he knowledge and experlence that has been represented.

f, Prior to beginning wark, the Consultant will suppiy Cllent with a Key Contact
Personnel List to Include their job, tile, and contact Information. Consultant will also
supply Client with a list of employees authorized to sign contracts and change orders.

Consultant’s Representations:

a. The Consultant shail perform the services outlined in Exhibit “A” In a manner
consistent with thet fevel of cara ondinarlly exercised by reputable members of the
profession cuytently practicing in the same localily and under similar conditions.
Consultant understands the natyre and scope of services and shall perform all
services as required in thls Agreement

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b. Consultant shall attend a weekly status meeting according to Client's requests. Fees
for weekly meetings shail be included in the lump sum price for the duration indicated
In Exhibit “A.

Indemnification: . To the fullest extent permitted by law, Consultant shall indemnify and
hold Client harmless from and ageinst any and ali claims, Habilties, demands, insses,
actions, causes of. action, damages, costs, expenses, fines, and penalties of every
nature, including but not Iimied to these resulting from injury to persons or property,
which are caused by Consultant's negligent act, error, or omission In the performance of
the services under this Agreement or by its breach of this Agreement. Consultant shail
net be responsible to Indemmnify Client fram any ilabillly, clalms, judgments, losses or
demands that are caused by the negligence of the Client. In the event Client and
Consultant are determined to be Jointly at faull, any ability as between Client and
Consultant shat! be aliccated between Client and Consultant in accordance with thelr
proportionate share of such feuit.

Attorney's Faes: if aither party becomes Involved In litigation arising out of this
Agreement or the performance thereof, the court shall award reasonable costs and
expenses, Including attomey's fees, to the prevalling party. In awarding attomey’s fees,
the court shall not be bound by any court fee schedule, bul shall, in the Interest of justice,
award the full amount of costs, expenses, and attamey's fees paid or incurred in good
faith.

Confidentiallty_of the Consultant: Consultant acknowledges and agrees that
throughout the term of this Agreement, Consultant may oblain Information about the

Cllent or the project which Is highly sensitive and confidential. Except as required by law
or by @ court of competent jurisdiction, Consultant agrees nol to disclose Client
confidential informatort te unrelated third parties cutside the scope of the services

. Without the express vitten consent of tha Client. Nothing herein shall ba deemed to

prohibit Consultant from making a disclosure of a viciatlon of law or of a matter necessary
to protect the health or safety of any person, Consultant wilt notiy Client prior to
releasing any disks or maps provided to other censullants thal are prepared in
conjunction with any work/services fer Client Required coordication with any agency
necessary fer ihe approval or construction of this praject is hereby granted.

insurance; Censultant shall maintain adequate insurence coverage et Its own expense
at ail times during the full term of its services under this Agreement and as otherwise

* required hereunder, Insurance coverage must have policy lnilts not less than those set

forth below with insurers licensed to do business in the State of Arizona and which [s
acceptable to the Client and under forms of policiés satisfactory to the Client There are
no other requirements contained herein as‘ to types, limits, or Cilents approval of
insurance, Client coverage to be maintained by Consufiant Is Intended to and shall not In
any way or manner Ilmit quality or quantity of the Rabllitles and obligaflons assumed by
Consultant under this Agreement or otherwise as may be provided by law.

The following items must be submitted to the insurance Coordinator of Rhodes Homes
Arizona prior to payment of any invoices or acceptance of any work. Consultant agrees

. that it shall not be entitled to such payment until such time that the following have been

recelved by Client:

a. General Liability Insurance Coverage in the amount of $2,000,000 aggregate. The
Carlificate holder's box must show the fofowing names as additlonally Insured:

7 Rhodes Homes
. Rhodes Homes Arizona
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Entered 07/27/10 19:25:56 Page 4of23 _

Case 09-14814-gwz Doc 1215-7 Entered 07/27/10 19:25:56 Page 5 of 23.

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* James M.Rhodes, Individually

This Certificate must alse have attached an additional Insured endorsement in a CG
2028 1185, or a GG2037 1001 FORMAT which names the same three names as
addillonally Insured The Insurance company providing the insurance coverage must
have an AM Best Rating of At or better and must be admitted in the state of Arizona.

The Name of tha project must be noted in the Description Box. (We Tequire an
Original Insurance Cerilficate for each project }

b. Comprehensive Automoble Liability Insurance in the amount of $1,000,000.

c. State fndustrlal Insurance Certificale of Workmen's Compensailon Insurance.
Certificate which shows that you are covered, |f self-insured, a certificate showing
ihat you are covered.

Professlonal Liahitity:

Consultant agrees to provide and ‘maintain, at Its expense, a Professlonal Liability
Insurance Policy of $1,000,000 per claim for a perlad not less than five (5) years after the
date of the final completion of the work that is performed In accordance with the services
if commercially available and affordable. Consultant shall provide Cllent with a copy of
the terms and conditions of the policy providing Professional Llablllty coverage.

Gonsuftant's Equipment Policy: ~

Any such insurance policy covering Consultant's or outside Consuttant’s or Consuitant's .

equipment agalnst loss by physlcat damage shall include an endorsement waiving the ip
Insurers right of subrogation against the Indemnities, Such insuranca shall be
Consultant's and outside Consultant's and in-house Consultant's sole and complete
means of recovery for any such less Should Consultant or any outside Consultant or in-
house Consultant choose to seif-insure this risk, itis éxpressiy agreed that the Consuitant :
and the outside Consultant and in-house Consttant hereby walve any claim for damage i

of loss to said equipment in faver in the Indemnities ‘

Other Requirements:

Evidence of the insurance coverage required to ba maintained by Consultant represented
by Certificates of Insurance issued by the insurance cariler(s), must be furnished to the
Client prior to Consultant starting Its services. Certificates of Insurance shall specify the
additional insured status mentioned abeve as well as the waivers of subrogation. Such :
Certificates of Insurance shail state that Client will be netified in writing thirly (30) days :
prior to cancellation or non-renewal of Insurance. Consullant shall provide to Cllenta =~
certified copy of any and all appficable Insurance policies prior lo requesting or recalving
payment from Client and prior to starling work. Timely renewal certificates will be
provided to Cilent as the coverage renews. . : ‘ :

Insurance similar to that required of Consultant shail be provided by er an behalf of all i,
outside Consultants and in-house Consultants to cover their operations performed under ,
this Agreement. Consultant shalt be held responsible for any modifications In these foo
insurance requirements as they apply te Consuifants, Consultant shall maintain M,
Certificates Sf Insurance from all Consultants, enumerating, smeng other things, the i i
waivers In favor of, and insured status of, the Indemnilies as required herein and make . :
“them available to Client upon request The term “*Consultani{(s)* shall include

Consultants of any tier.
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Case 09-14814-gwz Doc1215-7 Entered 07/27/1019:25:56 Page6of23

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Additional Required Documents:

b.

c.

State of Arizona License. Copy of unexpired Sicense, if required by law.

Copy of current unexpired business licenses, whichever fs applicable to the
subdivision or job- .

4} Mohave County
2) City of Kingman

A valld W-9 must be on fle.

Use of Work Product:

Consultant's work product shall be delivered to Cllent per a mutually agreed schedule
In accordance to paragraph 16 of this Agraament and may be used by Client for any
puroodse connected with the project in accordance with paragraph 16 of this
Agreement. Consultant agrees to provide Client with the disks containing the werk
product of the Consultant In a format as agreed upon at the Inillation of project and to
lhe Client's specifications Under no circumstances shail fansfer of drawings and
other Instruments of service on electronic media for use by the Cilent bs daemed a
sate by the Consultant, and the Consultant makes no werrantles, either express or
Implied, of Consultant's items of work

Documents, inctuding drawings and specifications, which are prepared by Conauitant
pursuant to this Agreement are not intended or represented to be suitable for use by
Client or others other than for their originally intended use at the Project. Any use of
completed documents other than as originally Intended, without written verification or
approval by Consuitant, will ba at Cilent’'s sofe sisk and without ilability or legal
exposure to Consultant.

Consultant shall not release any non-public data or work preduct prepared under this
Agreement to any other consultant, entily, or private/publle organization without the
Drier written authorization of Client with the exception to those documents that must
be released fo public record prier to approval or recordation.

Review and Approval of Work: : .

Clent reserves the right to have the Consultant's work praduct reviewed by other
consultants or by Client at its discretion Consultant shall fully cooperate with the
CRent and its agents In review of its work product. Consultant shall immediately
provide either appropriate changes or a written response as a result of such outside
review, Additional costs, if any, for such changes and or responses shail be
negotiated prior fo making such changes and/or responses. {f sald changes are for
value engineering purposes, said revisions will be done after the Client has approved
tham on a time and materials basis. if Client and Consultant are unable ta resalve
such dispute, Cllent aid Consultant agree ta mutually select an independent party to
seek a resolullon through mediation :

Provided the Consiltant Is given clear written and speken directions from the Client,
work is to conform to the Ciient’s acceptance and internat specilications as they are

- provided prior’ to start of work ia addition to City and County specifications,

acceptance, and approval. if thera ls a conflict between the Client's specifications
and the governing agency's specifications, the goveming agency's specifications
shall prevail. Furthermore, Cilent requires that on or befere 10% of the work Is
complete and on a regular basts thereafter, Consultant shall present its design to

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Case 09-14814- gw2 Doc I 1215- a Entered O7f27110 19: 25: $6 _ Page 7 of 23 .

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Cllent to obtain approval and/or advice on how to mitigate design discrepancies early
in the process

¢, Consulants work shail be in a manner consistent with that level of care and stil]
ordinarily exercised -by reputable members of the profession currently practicing In
the same focally under similar conditions and shall be deemed complete when it has
been signed, approved, recorded, and accepted by the applicable goveming
agencies, and the approved copies have been presented te Clisnt

Schedule: {f provided for in Consutant’s Scope of Services, the Consultant will supply
and Update a detailed critical production/design review schedule on a weekly basis for
tracking purposes which Includes planned versus actual completion tinieframes for both
entity reviews and Consultant preduction. Consultant shail maintain the schedule ag
Mulually agréed upen unless outside circumstances such as governmental reviews,
natural disasters, or other unknewn or uncontrollable influences occur, The client shall
be notifled immediately of any changes te the schedule, Additional fees may be required
for any unforeseeable delays fn the project that are outside of the Consultant's control

Ghanges: From time to time, Clien! may require changes In the Scope of Services of the
Consultant to be performed thereunder Such changes, Including any increase or
decrease fq the amount of the Consultent’s compensation, which are mulually agreed
upon by and between Client and Consuitant shall be incorporated in written amendments
or Change Orders to this Agreement and signed by alt partles hereto pricr to performing
additonal services. Client and Consultant may requést an amendment of the provisions
of thig Agreement; however, oral widerstandings shall not be binding, To be valid, ail
such amendments shall be made in writing and signed by ail partias hereto,

Waivers: No walver of Indulgence of any breach ar series of breaches of this Agreement
shall bs deemed or construed as a waiver of any other breach of {ha same or any olher
provision hereof, nor shall it affect the enforceability of any part of this Agreement No
walver shalt be valid or binding unless executed in writing by the waiving party.

‘Termination:

a. The Cllent may terminate this Agreement at any fime by written notice to the
Gansuttant subject to the payment of ail fees and expenses Incurred through the
termination date. Upon such termination, Consultant shall detiver to the Client aif
plans, drawings, computer disks and the like which were prepared by the Consultant
in connection with this Agreement of sald Project, Consultant's plans, drawings and
the tike may be directly or Indirectly used by the Client to the extent permilted by law;
provided however, Client hereby agrees to indemnify and hold Consultant, Its
officers, directors, employees, consultants, and subcontractors harmless from and
against, any and all claims, liabilities, demands, losses, actions, causes of actlen,
damages, costs, expenses, fines, and penalties of every nature, Including but not
Iimited to those resulting frem Injury te persons or property -

b. This Agreement may not be terminated by Consultant except by breach of this
Agraement by Cllent, te include nonpayment of fees within 30 days of invalce
which Is not cured within fifteen (8) days following Client's receipt of
Consultant's invaice.

c. Changes to the approved plans without Client's authorlzation will be grounds for
terminating this Agreement.

d. Inthe event this Agreement is terminated, all finished or unfinished documents, data,
drawings, models, photographs, reports, or other materlal prepared by the Consultant

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, aConsultant

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Case 09-14814-gwz _Doc 1215- a _Entered 07/27/10 19:25:56 Page8of23

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under: this Agreement shall become eligible for any intended use by Cllent, and
Consuttant shall be entitlad to receive just and equitable compensation for work
completed on such documents and ather materials. All plans, documents, comments
from agencies, and notes become eligible for any use by Client in return for the
compensation received, Cilent is to recalve from Consultant a herd copy and an
electronic format copy of all work performed by Consultant for Client regarding the
Project for the cost of duplication and reasonable personnel time.

20 Assianablllty: Consultant shall not assign this Agreement or any partion thereof or any
of its rights or obligations hereunder without the expressed written consent of the Client.

21. Payment:

a. Consultant shall provide Client with a monthly statement of fees and expenses by the
1st of each month for payment on the 21" of the same month. Statements recelved
after the 1st of sach month will be pald as if submitted the following month. Parilal
payment to the Consuitant shail not be construed as approval or aceeptance of werk
furnished hereunder.

b. Fees and expenses described herein are not ta exceed the fees as set forth in
Exhibit "8" without the prior wrilten approval of the Client Cilant shall have no
fability for payment of said fees should they exceed fees as set forth in Exhibit "8"
without the prior written approval of the Client, All fees exceeding lhe amounts
agreed to herein will be approved. by both Client and Consultant prior to the
commericement of services

¢. Consultant shail pay ali liens (including beneficial use lens), claims, charges, or other

impositions of any nature. or kind imposed upan Consuttant or arising out of or in

connection with the services performed or materials provided for hereunder and shall
' hoid harmless and indemnify Client there from. Clent reserves the right to pay any
liens thet ave imposed as a result of any work performed by sub-consultants of
Consultant. Consultant shail ralmburse Cilent for such payments. The fees In this
proposal do not includa any taxes, ff any, whether iocal, state, or federal on
professional services, Including but not limited to sales tax. The artounts of any
taxes will be added to the professicnal service fees as they are invoiced and will be
identified as such.

d. To the extent Consultant's services have not met the Standard of Care as 13 weillen i in
Paragraph 3, Consultant shall be held responsible for errors in tha field created by
Consultant's negligent designs (es determined by due pracess). Consultant shad be .
informed of errors Immediately upon discovery and shall have the right to make
adjustments to the plans /n order to correct tha errer. Consultant shall have the right
to review the costs submitted by- the contactor for the remedy prior to
commencement . -

22. Notice. Any notice in this Agreement shall be in writing and shall be effective upon
personal delivery, certified malting return receipt requested when deposited in the United
States mall, or upon confirmed transmission by telegram, cable, telex, ora facsimile.

23. Entire Agreement This Agreement contains all the terms, conditions, and provisions
hereof creating the understanding and representations of the parties relating thereto
regarding this Project. Alt such prior written and/or oral proposals,. representations,
understandings, atid discussions are superseded by this Agraement, This Agreement
may only be modified or amended by further written agreement executed by ihe parlles

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Case 09-14814-gwz Doc 1215-7 Entered 07/27/10 19:25:56 Page 9of23 _

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24, Authority: Each of the undersigned signatories devlare and represent that they ara duly
- authorized to sign this Agreement and bind each of the partles hereto to all the terms and
. } conditions as outiined herein.

25. Binding Effect, This Agreement shell be binding upon’ the helrs, personal
representatives, successors, and/or assigns of the Consultant.

28. Retiirn_of Agreement Consuitant shall execute and relurn this Agreement within five
(5) calendar days from the date of the Agreement. Consultant shal] not commence with
services and/or work prior to receipt of a fully executed Agreement. Consultant shall be
due no payments for work completed until bath parlles have fully executed this
Agreement.

IN WITNESS WHEREOF, the parties hereto have executed thls Agreement on the day and
year written above.

Rhodes Homes Arizona

aStanley Consultants, Ine» 2215 Hualapa! Mountain Road, Sulte H

«8820 3. Easter Avenue, Sule 108» King an, Arizona 86704
Vi Vi 4 Phone; (928) 718-2210
sLas Vegas, NV» , «68119» : Fax: (928) 716-1322

Phone; {702} 369-9396
Fax: (702) 369-9793

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Authorized Signature Date

David Frohnen, P.E. : ;
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Paul Huygens, Dir, OF Finance Date

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Case 09-14814- gwz Doc 1215-7 Entered 07/27/10 19:25:56 Page 10 of 23

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Exhibit "A”
‘ Scope of Services (Major Infrastructure Design Engineering}
} ° Golden Valley South — Phase |
Mohave County, Arizona

PROJECT UNDERSTANDING

lt 1s the understanding of Stanley Consuttants, Inc. (Consultant}, that Rhodes Homes (Cilent) :
intends to develop the first phase of Golden Valley South residential / multi use subdivision
Jocated within Mohave County, near tha City of Kingman, Arizona. This site is located south of
U.S. Highway 68 and west of Interstate 40, Our understanding of the Project has‘come from the
conversations with the Client .

“AES.

itis our understanding that the Project will require;

7 |. Mass Grading
- i. Roadways And Circulation

ii, Drainage Facilities
V. Wastewater Treatment infrastructure
¥. Water Infrastructure
Vi. Land Surveying
VIL Ory Dulty Planning And Coordination
VAIL. Construction Staking For Infrastructure installabon
IX. Construction Management Services

tneluded herein [s the scope of services, comperisation and schedule for engineering services.
Stanley Consultants ine. agrees to perform the following Scape of Serdces;
INFRASTRUCTURE DESIGN ENGINEERING

1. Mass Grading

Consultant will produce a Mass Grading Plan for Phase 1 of the Goiden Valley South
Development The comporients for the Mass Grading Plan are as follows:

Task 1 - Golf Course Grading

~~

m Consultant shall provide Trough Contour Grading plan for the proposed goif course to the
Golf Course Architect for his use in the golf course design. Contour grading for the
adjacent roadways and surrounding fat will also be included, Earthwork quantities will be
calculated for ihe golf course trough and adjacent roadways and surrounding lots. The
final golf course design by the Golf Course Architect will be incorporated via CADD
Formal into the mass grading plan,

Task 2 ~ Site Plans, Lot Fit and Grading

g Site plans will be engineered from lot layouts provided by the client and RNM fer Pods t, fe
2, and 3. The drawing prepared by RNM dated 5/13/05 represents a total of 2,019 lots =~ i
on 600.6 acres for those pods ‘Upon approval by the cliant, a lot fit analysis and final :
hortzontal fot closures will be calculated for the lots. Cantourad and Precise grading
plans with grade tage will be preduced and incorporatedtonte the mass grading plens.

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Case 09-14814-gwz Doc 1215-7 Entered 07/27/10 19: 25: 56 Page 11 of 23

«Contract_»

Task 3 - Super Pad Grading

m Super pad grading for the proposed Clubhouse/Recreation site and Pod 5 and 6 will be
incorporaled onto the mass grading plans.

Task 4 - Earthwork Quantity Calculations

@ Final Earthwork Quantities will be computed for the overall mass grading plan for Phase
1.

i, Roadways and Circulation
Task + - Master Traffic Study
m Consultant shall prepare a phased traffic sludy that outlines the traffié flows and trip
generations, distributions and level-of-sarvice analysis for the 4 phases for the master
planned 5800 area. Include all required intersecilons and counts required by the
agencies. Submit and process through the applicable agencies for review.
Task 2 - Roadway improvement Plans

w Consultant shall prepare cone sei of roadway improvement Pians for each roadway
segment as follows:

: « Aztec Road from Shinarump Drive to Aquarius Drive, approximately 16,000 feet -

: 30% Preliminary Improvement Plans

e Aztec Read Phase 1 from Shinarump Drive to Golf Course / Town Canter . i
Entrances, approximately 8,500 feet~ 100% :

« North Loop Road East from the Aztec Roundabout to first Gross Street (Pad 3}
East, approximately 2, 006 feat

« Worth Loop Road West from the Aztec Roundabout to second Straat Appraach
{Pods 1 & 2), approximately 6,000 feet

« North Aztec Road Roundabout, approximately 4 {000 feet (roundabout and four
approach jeqs)

m@ Plans to be designed to a scale of one inch = 40 feet and each set is to include the
following: .

Cover Sheet
Note Sheet
Detai! Sheets .
Horizontal Central ‘
Roadway Plan & Profiles . :
Storm Drain Plan and Profiles i
Storm Drain Lateral Profiles i
Utility Plan and Profile (Water and Sewer per Master Ptan) i
Traffic Control (Signage, Striping, & Streetlight Plans) poy
i

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Lagat Descriptions & Exhibits for any Rights-of) Ways required.
8 All plans wil be based on the approved Preliminary Plat, Master Trafic Sludy, Master

Prainage Study and Technical Drainage Studies, Wastewaler and Water Studies, Dry
« Utility Planning and Coordination as discussed elsewhere.

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Case 09-14814-gwz Doc 1215-7. Entered 07/27/10 19:25:56 Page 12o0f23.
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} ' Task 3 - Design Submittals

m™ The Consultant will submit for approval Roadway Improvement Plans as required by
Mohave Geunty In order to construct these roadway improvements. All plans submittals
WH be revised to itcorperate all comments received from the raview agency
departments. , .

m The plans will be reviewed and certified by a lleensed Arizona Professional Engineer.

: . = The Consultant anticipates retaining the services of a Sub-consultant who specialize In
4 . , the design of the Roundadouts. .

@ The design of any bridges or reinforced concrete arch culverts at entrances to the various -
pods wil be included with those roadways serving the pods and are no! included in this
proposal.

ML Drainage Facilities
Consultant shall prepare drainage studies for the following areas.

Task 1 - Master Area Drainage Plan {excludes basins, detailed design and final engineering on
the Holy Moses Wash, main channel) ~ individual profects have detailed TOS In support of project
folowing the master area plan.

m Consuilant shall prepare 3 Master Area Drainage Study for the Golden Valley South

according to the layout dated 4/28/05 by RNM. Master Area Drainage study shait Include

, preliminary storm drainage design, HECEAS models of flood plain areas, super pad

“areas and major roads where the road grades have been determined Study assumes

the Holy Moses main channal wilt be lett in natural state with out reatignment, Study will

. : design Holy Moses diversion for the minor breakout north of the Holy Moses malin
; channel. .

i Task 2- CLOMR Application

m Consultant shall prepare a CLOMR application to subrnil to Mohaye County and FEMA.
. . : . CLOMR application will begin after receiving Master Area Drainage approval from
‘ Mohava County.

Task 3 - Golf course Drainage

a Consultant shall prepare a drainage study of the golf course plan to be determined by the
” golf course architect. Study wil include the super pad grading for the clubhouse. Study
may evaluate minor relocation of the Haly Moses Wash.

Task 4 - Individual TOS’s for each major Infrastructure project following the master drainage ;
study. :

-.™@ Consultant shall prepare an updated drainage stucy for areas 1, 2, 3, and the Active
Adult Medium High super pad area. The studies for 1, 2, and 3 will proceed when the
final [ot configuration Is known and the Master Area Drainage Plan has been approved by :
Mohave County. .

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Case 09-14814-gwz

Doc 1215-7 Entered 07/27/10 19:25:56 Page 13 of 23

«Contract_»

Task 5 - 404 permit Coordination

m Consultant shall coordinate storm drain design with the 404 permitting process. Price
Includes two meetings In Tucson with the Army Corps of Engineers. .

WV. Wastowater Treatment infrastructure

Rhodes Homes (OWNER) has identifled the need for Engineering Services for the design of a
0.20 mgd (average dally flow) wastewater treatment plant (WWTP) and various off-site sewers to
serve the Golden Valley, AZ. Phase 1 developrient.

The services Include project management, Mahave County Aran Wide Water Quality
Management 208 Plan amendment, preparatlon of Arizona Aquifer Protection Permit (APP)
application, preparation of an application for a National Pallution Discharge Elimination System
(NPDES) permit, pre-design, design, and document preparation for the teeign of the above
mentioned facilities.

Task ¢ - 208 Plan Arnendment

m This task Invelves the preparation of an amendment to the Mohave County Area Wide
Water Quality Management 208 Plan dated September 2003. The 208 Plan amendment
Checklist wit be used to prepare ihe amendment. The 208 Plan Amendment Process Is
contained in Section 7.3 of the current Plan.

Task 2 - Pretiminary Design

= This task involves the development ofa Preliminary Engineering Report. “The Teport will
dasorlbe the project planning area, identify existing facilities, provide preliminary detalls of
the propesed project, and present a preliminary cost estimate.

la Included In the development of the Preliminary Engineering Report ara the following
specific tasks:

« Develop flows and foadings for Phase 1 and the ullimale WWTP.

* Develop preliminary touting for backbone sewer pipelines for Phase 1 and the
ultimate WWTP.

» Develop computer model of backbone sewer system with SewerCAD and
calculate sewer pipeline sizes for Phasa 1 and the ullimale WWTP.

« Review alternatives for package mechanical treatment plants and develop order
of magnitude costs estimates and approximate schedules for delivery.
Recommend treatment plant process and manufacturer,

+ Review alternative unit processes and plant layout for the ultimate WWTP,
Recommend ulfimate WWTP process and layout and develop phasing pian and
preliminary schedule for build-out.

+ Prepare preliminary drawings showing the Phase 1 sewer system backbone
pipelines not in Phase 7 road Infrastructure, the iayaut of the Phase f trealment
plant and the location of major process unis. Present prellminery plans on 11%
17” drawings and calculations in the predesign report. Include a corridor for the
ultimate WWTP sewers if along the route of the Phase 1 sewers

* Perform quallly controi/quality assurance reviews and make all corrections and/or
revisions on alt reports, drawings, specifications, and ary other documents prior
to submittal to the OWNER for review and comment

* Prepare and submit to the OWNER five (5) coptes of the Draft Predesign Report
covering all aspects of the consultant's work for tha Preliminary Design.

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Case 09-14814-gwz Doc1215-7 Entered 07/27/10 19:25:56 Page 14 of 23 -

«Contract _»

» Prepare and submit five (5) copies of the final predesign report ta the OWNER

os Incorperating ail clarifications and modifications io the drafl predesign report as
) required by tha OWNER:
. * Entitlersents / Zoning & Processing.

Task 3 - Project Management

W This task includes the overall project management for the design process, included in
ihe task are maintaining OWNER and project team communications, managing project
services, preparing and Updating @ base line schedule, and providirig qualily control and
quality assurance reviews. .

The Consultant will prepare and submit a monthly project summary, including budget i
Status, issues, progress report, and updated schedule with the Invelce

m The consultant will conduct an Initia} start-up meeting and five (5) progress meetings at
either the officas of ihe OWNER or fhe consultant.

Task 4 - Contract Documents

m) Design drawings and technical specifications for the construction of the Project will be
prepared and’ provided by the consultant in three (3) submittals. Five (5) sets of
preliminary sixty percent (60% complete) drawings will ba fumished in the first submital.
Five (5} sets of substantially complete ninety percent (9096) full size (24"x36") drawings
will be furnished in the second submittal. After the second submittal, the consultant will
participate in a ninety percent (96%) pian review meeting. incorporating all clarifications
and modifications discussed in the meeting and noted on previously submitted plang, the
ENGINEER wilt prepare and furnish five (5) sets of substantially complete one hundred
percent (700%) full size (24°x36") drawings. and specifications. This will be the jast
submittal. Upon approval by OWNER, a complete final one hundred percent (100%)
plans and specificatlons set ready for construction bid advertisement wil be fumished
One set of mylar design drawings and an electronic copy of the specificatlons shail be
previded.

m Af the 60% submittal, applications for an Aquifer Protection Permit and NPDES permit
will be prepared and submitted ta AZDEQ, -

~ m® The components of the 0.20 mgd wastewater treatment plant anticipated in the design :
are as follows b

Ne

Influant Pumping & Matering

Screening / Grit Facility

Spiliter Box

One (1) Package Treaiment Unit at 0.4 MGD average day capacity and a pad for
a second 0.1 MGD unit. Includes activated sludge, nitifcation/denttriRcation,
fillration and disinfection. ° |
Aerobic Digester. !
Sludge Drying Bed

Rapid infiltration Basin

Effluent wet well and reuse water pumping system.
Effluent pipeline to wash for discharge.

Electrical Service

Backup Electrical Generators

14

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m ‘thas been estimated that 50 sheots wilt be requirad to produce biddable construction

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- drawings for tha 0 2 mgd treatment plant.

w- The design of off-site sewers (4 15,500" of 10° and 168") as well as reuse forcamain

35,000°} is included.

Task 6 - Bid Phase and Construction Services:

a Bid Phase Services inchide: Attendanta at one pre-bid meeting and answering bidding

questions related to technical specifications, Prepare up to 2 addenda If required.
Provide recommendation of award letter.

& Construction Services Include: Review of up to 60 shop drawings and response to 20

requests for Information (RFis), attendance at 40 progress meetings and 100 hours of
field review of construction.

V. Water Infrastructure

Task 4 - Engineering Design

™ Consultant will prepare a final Engineering Design report for provision ofa municipal

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waler supply system to service the 5800 acre Golden Valley South project area as well
as up to 15 misc. smaller parcels (no more than 40 acres each} along ihe Azlec Road
Corridor.

Consultant will prepare a hydraulic model to identify potentlal locations for points of
soutce of supply for groundwater, system storage requirements and pipeline sizes to
demonstrate adequate water flows and pressures to the lecal agency design
requirements.

The design wil! identify appropriate zone splits, tank site locations and prospective fulure
well sitas.

The report will have an overall capital facillties plan for source of supply, siorage, booster
pumps, Major pipelines (over 12 Inch} and related major appurtenances.

Entilements / Zoning & Processing.

Task 2 - Construction Documents - Equipping of New deep groundwater Well

Consittant will prepare and process construction documents {plans and specs) for the
above ground facilities for a new deep groundwater well.

Services to Include, site plan, grading plan, drainage analysis, pump selection,
mechanical piping and valves, electrical power distribution and Instrumentation and
control, chiorinalion aquipment, fencing and paving. Services exclude any Weatment
fother than disinfectlan)}. .

Task 2 - Construction Documents - Canversion of Exiting Park Site iigation Well

Consultant will prepare and process construction documents (plans and specs) for the
abave ground facilites for the conversion of the existing Aztac Park well irom an inigation
type well to & potable water (publlc water system) well system with disinfection and

integrated contrals.
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1215-7 Entered 07/27/10 19:25:56 Page 15 of 23

Case 09-14814-gwz Doc 1215-7 Entered 07/27/10 19:25:56 | Page 16 of 23

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= Services to include, site plan, grading plan, dralnage analysis, pump sefection,
machenital piping and vaives, electrical power distribution and Instrumentation and
contrel, chlazination equipment, fencing and paving ‘Services exclude any trealment
(other than disinfection).

Task 4 - Construction Documents — Major Water Pipelines

m@ Consultant wil prepare and process constructian documents (plans and specs) for the
following major pipelines:

- Approximately 30,060 fineal feet of 18 inch water line (27,000 LF to be parallel i
lines} running north of the project northern boundary along the Aztec Road
corridor and connecting the Park Well site to the reservoir and new water well
(see attached figure).

mw Services to include, pian and profile for water line, mechanical piping datails, drainage
analysis, valves, hydrants, alr release valves and mise appurtenances.

Task 5 - Engineertng Services during Construction
m= Consultant will provide up to 400 hours of services during ihe construction phase of the
water infrastructure projects, Such services include, review of submitiais, shop drawings,
response to RFI's, assisting Client with procurement and bidding, limited field visits and
attendance at limited field coordination meetings.

m@ Specific Exclusions not part of this scope of work include:

i - Groundwater well Drilling, casing, testing — by EMA
: - Geotech or corrosion

~ Right of Way Services

- Water tealment designs

Task 6 - Construction Documents - 60 MG Steel tank Reservoir

z Consultant will prepare and pracess construction documents {plans and specs} for the
one above ground Steel Tank Reservoir with no booster pumps.

am Services to include, site plan, grading plan, dralnage analysis, mechdnical piping and :
valves, electrical power distribution and instrumentation and control, chlorination ;
equipment, fencing and paving. :

VI. Survey — Design
m Consultant will complete the following land surveying service components:
e Conduct field verification — MEAI's topography and boundary { i
« = Identify utility pothole locator — horizontal and vertical

* 40 acre parcel topography 2'G |. for 6 MGD water storage lank SEC 23 T21N ie
Riaw .

‘ * Topography SEC 20 T20N RiaW co’ CI. for wastewater treatment facilities

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__ Case 09-14814-gwz Doc 1215-7 Entered 07/27/10 19:25:56 Page 17o0f23

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Vil. Dry Utility Planning and Coordination
Task 4 - Electrical Master Pians

m Consultant will analyze proposed routing of a proposed 69 KV transmission line and
recommend altematlve rouling in order to accommodate the GV-South master
development plan and the proposed Unisource transmission line Prepare ene (1)
exhibit .

= Consultant will calculate anticipated electrical loads for the GV- South master plan as wed
as miscellaneous parcels along Aztec Road north to Highway 68. Consultant will analyze
curent and proposed substations and master distribution plans and make
recommendations for providing service for the development Including substation
jocations. Prepare up to one (1) exhibit .

m Consultant will analyze power'supplies to proposed wastewater treatment plants and
deep well pump stations. Masterplan up tb 2 wwip sites and 15 well/pump sites and
detail plans for phase 1 to Inclide one WWTP site and 2 well/Sump sites. Prepare one
{1} exhibit.

= = Prepare for and attend up to two (2) on-site Coordination meetings with Client and
Unisource.

Task 2 - Natural Gas Service

@ Consultant wil! coprdinate @ request for service with Unisource for provision of natural
gas service for the Gelden Valley South development Consultant will facilitate cost
estimates and conceptual design of a gas pipeline Infrastructure to service the project
with Unisource. Prepara up to one (1) exhibit, Participata In up to three (3)
planning/ccordination meetings with Unisource. ,

Task 3 - Phone and Gable

Mm Consultant wil coordinate request for service with service providers and facilitate the
preparation of application documents and initial cost estimate for provision of these
services. Consultant wilt coordinate location of major Infrastructure sites into the
development working with the service providers. Consullant will research and facilitate
plans for incorporation or relacation of existing fiber optic cables in the immediate area.
Consultant’ will facilitate the development of cost estimates developed by the service
providers and guiline service agreement requirements.

VAL Construction Staking — Infrastructure

B Consultant wil complete the following construction staking components. Construction
Staking for Phase 7 shall include all but not timited to: .

« Stake rough grade infrastructure roads (Aztec, Loop and Clubhouse}

«+ . Stake rough grade areas 1, 2, and 5 a& shown on RNMIS Golden Valley South
datad May 13, 2005

« =©Stake rough grade Golf Course Clubhouse and Town Centér pad

be ® Stake approximately 3 miles of earthen swale 10’x4' deep

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_ Case 09-14814-gwz Doc 1215-7. | Entered 07/27/10 19:25:56 Page 18 of 23

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* Stake approximately 2 miles earthen swale 10'x2" deep

« Stake approximately 1 miles 30°-RCP

« Stake various RCP and RCE crossing

* Stake layout for riprap (3 areas}

* Stake offsite water storage tank and well (.5MGD)

* Stake offsite waterline (approximately 3 miles) grada and allgnment
+ Stake onsite watertine (approximately 2 miles) grada and alignment
* Stake onsite sewer (approximately 3 miles) grade and alignment

« Stake finish grade on approalmately 3 mites Infrastructure road — Aztec and Loap
Road (red head and blue top)

« Stake Curb and gutter and sldewalk for approximately 3 miles infrastructure road
~ Aztec and Loop Road if required

«* Staking for Horizontal and Vertical locations of 2 proposed Hurricane Ponds. 1
just south of Shinarump. The 2™ located at the Town Center.

iX. Construction Management Services ~ Option Future Service

Stanley can provide professional constructtom management services as an optional
service for contre! and expediting construction activities, for the following infrastructure
components:

Water and Wastewater Infrastructure including wells, pumps, tanks, irealment plants and
major pipelines. .

Roadway grading and construction

Golf facilitles construction

Subdivision horizontal construction.

Stanley imalntains professional staff In Nevada and Arizona to provide thesé services to

the project. We welcome the chance to offer a definitive scope and fea on the Golden
Vallay South project.

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Case 09-14814-gwz _Doc 1215- a Entered 07/27/10 19: 25: 56 _ Page 19 of 23 —

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CLIENT RESPONSIBILITIES

In the preparation of this scope of services It has been assumed thal the Client will supply fa

Conswitant the following:
* Geotechnical and Environmental {vegetation and hazardous) Reports
s Preliminary and Final Geotechnical Reports
. = Pretiminary Tite Reports, ifichuding caples afthe exceptions.
: . = Executed off-site easements including drainage utilities, and/or site access, as required
: * Completed application forms and supplemental information
s Proposed deed restrictions and CC&Rs
«  Gedlogical, Archeofogical, and Tortoise Studies
* Normal reimbursable expenses such as mileage and repraductions which will be bilted at
direct cost plus 10%
Exclusions:

Services rendered outside this scope of services will be performed on a Time and Materials basis
at the rates shown on the attached Standard Charge Rate Fee Schadula, The Consultant shall
not conduct additional services without prior written authorization from the Cilent. The following Is
a partial fist of tie exclusions applicable to the included Scope of Services.

«Revisions to plans under design due to a change in infermation or design requirements
provided Consultant by others (Client, Client's other Consullants, regulatory agencies’:
policy changes ih standards)

= Dry Utility Designs and Coordination (power, gas, telephone, cable} (other than listed

herein}

Landsdape Plans and Infigation Plans,

Acquisition of off-site easements

Traffic Signal Plans

Sotis/Geolechnical consulting, pavement sections designs, and subdrainage systems

Potholing {

Hydratilic Flow “Teats and calculations wil be performed by others if required ‘

Analysis of water and sewer systems serving areas adjacent to the proposed Project, ie,

the preparation of regional or subregional analysts is not included

Channel Design

Stroctural calculations and/or designs are not included, i.é, retaining walls, buildings,

drainage structures, etc,

Entitlement services {other than those spacifically listed)

Lot Jine adjustments, ER appileations

Planning exhibits, land use applications, and/or overlays (except as noted)

FEMA submittals ‘andior coordination {except as noted)

New conditions as a result of new zoning

Utitty Easements other than specificalfy identified herein

Relainiig/screen wall design and specifications

Legal Descriptions and Exhibits other than specifically identified herein

Off-Site Street Impravements ather than specifically listed herain

Vacations or dedications other than these listed herein

Fletd Engheering/Construction Administration meetings

Hardscape and landscape plans

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Case 09-14814-

gwz Doc 1215-7 Entered 07/27/10 19

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Exhibit “B”
Compensation
(Major (nfrastructure Design Engineering wi Addendum #1}
Golden Valley South
Mohave County, Arizona

Upon receipt of Cllent’s authorization, Consultant shall carry through completion of the sarvices-
outlined in Exhibit 7 including Addendum 1, All activities will be completed on a Lump Sum basis
bled monibly on percent complete basis, Additional services not covered by this Agreement will
be billed on a Time and Materiais basis according to the Hourly Fees and Charges, attached. No :
additiona) services wil] be started without witten authorization by the client. Thts approach will b
ensure that all additional services estimated fee and scope are desired by the Cllent prior to ihe :
start and completion of work

Once contracted, the fees herein are valid until Decarmber 2008. Hf the services In this contract , ~
have not been completed by December 1, 2006, the fee amounts wifi be subject (o renegotiation.

Rejmbursables . .

A budget amount has been set for reimbursable expanses (See Exhibit B ~ Schedute of Values).
This amount is for basic expenses of normal copies and processing of the base project.
Relmbursable expenses include such items as courler service, mileage, reproduction costs, atc...
Any and all fees required to be pald to government agencies, quasi-government agencies of
utility agencies are NOT considered relmbursable expenses and will be paid by check provided
( . by Client. These payments will be scheduled by Consultant and outlined in Exhibit “C*, Time of
te Completion, giving expected dates when payments will be required and expected amounts of po
checks needed =~ Po

Extra client requests above and beyond base expenses will be reimbursable by the client at the

diract cost. Consultant's diracf ¢ost for extra reimbursable requests will include third party
charges, mileage and reasonable direct labor charges for additlonal detiveries or preparation of
additional project document copies. :
SUMMARY OF FEES
Neeetce nebo casera a a
Golf Course Grading : 25,000 ; 1.
Site Plans 30,000 ot
~ Lot FitHorizontal Lot Closures 145,000 . .
Pracise Lot Grading \ 140,000 :
Super Pad Grading fincluding addendum fer Town Center area} 15,000 t,
Earthwork Quantity Calculations 5,000 |
Subtotal 370,000 / i
, Pr elu
eceleTett Maceo ]atom elt gele |e Licele| ean
‘ 80,090 .
- Master Traffic Study . . $ 80,c00 v
Aztec Road 30% . | 475,000
i ‘ Aztec Road Phase 4 100% 120,000
ee North Loop Road East Phase 1 100% . 40,000
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Case 09-14814-gwz Doc 1215-7 Entered 07/27/10 19:25:56 _

- North Loop Road West Phase 4 100%
Noh Roundabout Phase 1 100%

Subtotal

Salieri ected

Maater Area Drainage Plan
CLOMR Application

Golf Course Drainage
individual TOS's

404 Pemmlt Coordination
Subtotal

ER ean Ua Maes) Sa MaDe eda one ad festa toate BB secy eg)

Prailminary Enginearing Report
208 Amendment

Project Management
Design Phase |
Subtotal

Air rm ert ala eee ee ome Beemer cs Ole ol ard bol]

. Bld Phase .

: Construciion Services

: Subtotal

: ; eRe Geena tc ;
Engineering Design ‘

Construction Documents - Equipping of New deep groundwater Well
Construdtion Documents - Conversion af Exiting Park Sife Inigation Welt
Construction Documents ~ Major Water Pipelines

Engineering Services during Construcilon
Base Expense Allowance

Subtotal

Construction Dacumants - 50 MG Stesl Tank Reservoir

rede ce tte i)
Subtotal (includes ALTA for Golden Vallay 4000 area)

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Page 20 OF 28 oo cme

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40,000

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140,000
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Case 09-14814-gwz Doc 1215-7 Entered. 07/27/10.19:25:56 , Page 22 Of 23...

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Lats . again enc tet iar tien eal
i } Etectieal Master Plans . $ 18,000
= - Natural Gas Servica $ 12,000
, ‘ Telephone and Cable $11,000
Subtotal : § 41,000
Subtotal Design Services $ 2,520,300
Petia le elms oLt ile mem siesta) a ada
. Subtotal (Includes Addendum 4) "$476,600
Penta eubetite ieee a eal
Field Suvey : 65,000°
| Site Projact Management : 235,200
Pian Revision Drafting : $19,000 .
Subtotal : $323,200 i
Total Lump Sum Foe | 0 to
Additional Request for relmbursable exp (F&M budget} . $10,000 i :
i Total Contract Amount $3,330,100.00 i in
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Exhibit °C"

TIME OF COMPLETION

Engineering Schedule:
_ (See Project Schecuie}

Survey Schedule:

Page 23 of 23

«Contract _»

Time of completion is determined by Client for which Consultant will provide its services

on an “en-call’ basis

Client rust make all staking requests 48 hours In advance.

23

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